                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                            3:05CV40-MU-2
                          (3:01CR184-5-MU)


DAVID MICHAEL BLACKMON,       )
                              )
          Petitioner,         )
                              )
          v.                  )               O R D E R
                              )
UNITED STATES OF AMERICA,     )
                              )
          Respondent.         )
______________________________)


     THIS MATTER is before the Court on Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §2255,

filed January 27, 2005 (document # 1); on the Government’s com-

bined Response and Motion to Dismiss, filed April 13, 2005

(document # 5); on Petitioner’s two separate Motions to Stay or

Hold Decision in Abeyance, filed June 30, 2006 and August 16,

2007 (document ## 16 and 18, respectively); and on Petitioner’s

Motion to Reinstate Title 28 U.S.C. § 2255 Motion, filed May 15,

2008 (document # 19).

                 I. FACTUAL AND PROCEDURAL HISTORY

     On September 11, 2001, a single-count Bill of Indictment was

filed, charging Petitioner (along with eight others) with conspi-

ring to possess with intent to distribute five kilograms or more

of cocaine powder and 50 grams or more of cocaine base, all in

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violation 21 U.S.C. §§ 841 and 846 (Case 3:01CR184-5-MU, document

# 3).    In addition, the Indictment asserted, pursuant to 21

U.S.C. § 851, that if convicted of that charge, Petitioner could

be subject to enhanced punishment by virtue of his two prior

drug-related convictions.      (Id.). Said conspiracy was alleged to

have taken place from January 1993 until on or about September 1,

2001.    (Id.).

     On September 25, 2001, the Court conducted an arraignment

proceeding, during which it advised Petitioner of the charge and

advised him that, if convicted, he faced a mandatory term of life

imprisonment.     (Id., document # 15).     Also on September 25, 2001,

the Court conducted a detention hearing, at the conclusion of

which the Court entered an order detaining Petitioner. (Id.,

document # 14).     That Order further noted Petitioner’s “admission

to dealing” drugs, that the subject offense allegedly had occur-

red while Petitioner was on supervised release for a federal

conviction, and that Petitioner had admitted a cocaine addiction.

(Id.).

     On or about April 21, 2002, Petitioner submitted a letter to

the Court stating, inter alia, that in light of his exposure to a

mandatory life sentence, he wanted a new attorney because his

current attorney had not practiced law long enough to be “well

versed in Federal criminal law,” and counsel was “very intimidat-

ed” by the prosecutor.       Thus, on May 2, 2002, the Court conducted


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a proceeding inquiring into the status of counsel.          On that

occasion, Petitioner reiterated his concerns and asked for re-

placement counsel.    Out of an abundance of caution, the Court

granted Petitioner’s request and appointed new counsel for him.

     On August 8, 2002, Petitioner, through replacement counsel,

entered into a written Plea Agreement with the Government whereby

he agreed to plead guilty to the conspiracy charge.          (Id., docu-

ment # 124).   The Agreement also records Petitioner’s understand-

ing that: (1) he was facing a statutory mandatory minimum term of

life imprisonment; (2) his sentence would be calculated in

conformity with U.S. Sentencing Guidelines; (3) his sentence had

not yet been determined and “any estimate from any source,

including defense counsel, of the likely sentence is a prediction

rather than a promise”; and (4) “no recommendations or agreements

by the Untied States are binding upon the Court.” (Id.).

     As for his specific conduct, the parties’ Plea Agreement

sets forth stipulations that “[t]he amount of cocaine base that

was known to or reasonably foreseeable by [Petitioner] was at

least 150 grams but less than 500 grams”; that the “base offense

level should be 34"; and that if Petitioner met certain condi-

tions, the Government would recommend a three-level reduction for

his acceptance of responsibility. (Id. emphasis added). Of equal

relevance here, the Plea Agreement further reports Petitioner’s

understanding that “[n]otwithstanding any recommendation in this


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Agreement as to the offense level, if the Probation Office deter-

mine[d] from [Petitioner’s] criminal history that U.S.S.G. §

4B1.1 (Career Offender) . . . or a statutory minimum sentence

applie[d], then that provision w[ould] be used in determining the

sentence”; and that “if the Probation Office determine[d] that a

different offense level or a Guideline not addressed in this

agreement applie[d], and the Court f[ound] that the Probation

Office [was] correct, then the Court w[ould] use that offense

level or Guideline in determining the sentence.”          (Id.).

     Concerning his appellate rights, the Agreement contains

Petitioner’s waiver of his rights to contest his conviction and/

or his sentence in any post-judgment proceeding, including a col-

lateral proceeding like this one under 28 U.S.C. § 2255, on any

grounds except ineffective assistance of counsel and prosecutori-

al misconduct.     Finally, the Agreement reports the parties’

understanding that in the event Petitioner provided what the

Government, in its sole discretion, deemed to be substantial as-

sistance, then the Government would seek a downward departure on

Petitioner’s behalf.

     On September 4, 2002, the Court held Petitioner’s Plea and

Rule 11 Hearing.    During that proceeding, the Court engaged Peti-

tioner in a lengthy colloquy to ensure that his guilty plea was

being intelligently and voluntarily made.         (See Transcript of

Rule 11 Hrn’g., filed October 2, 2003).


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     By his sworn responses to the Court’s numerous questions,

Petitioner established that he had received a copy of the In-

dictment, he had discussed the document with counsel, and he

understood the Court’s explanation of the charge and its ele-

ments.   (Id. at 5, 7-8 and 24).      Moreover, Petitioner’s answers

established that he understood that he was facing a statutory

minimum mandatory term of life imprisonment as was explained both

by the court and counsel; that counsel had spoken with him about

how the Sentencing Guidelines might apply in his case; that he

understood that the Court would not be able to determine his

sentence until after his Pre-Sentence Report had been prepared;

and that he understood that even if he received a sentence which

was more severe than the Government’s recommendation, such fact

would not give him the right to withdraw his guilty plea. (Id. at

9, 24-26).

     Petitioner’s answers further established that he had taken

enough time to discuss possible defenses with counsel; that he

was tendering a guilty plea because he, in fact, was guilty of

the subject offense; that, other than the terms of his Plea

Agreement, no one had made him any promises of leniency or a

light sentence in order to induce his guilty plea; that no one

had threatened, intimidated, or otherwise forced him into plead-

ing guilty; that he understood the terms of his Plea Agreement,

including the waiver provision by which he was giving up his


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right to directly or collaterally challenge his conviction and/or

sentence on any grounds other than ineffective assistance of

counsel and/or prosecutorial misconduct; that he was satisfied

with the services of his attorney; and that he did not have any

questions or comments for the Court.           (Id. at 30 and 34-37).

Thus, at the conclusion of that proceeding, the Court accepted

Petitioner’s guilty plea.         (Id. at 38).

        In November 2002, United States Probation Officer W. Ross

Baker served a copy of Petitioner’s Pre-Sentence Report upon de-

fense counsel.      The Report relied upon the stipulations in the

Plea Agreement and calculated Petitioner’s “Base Offense Level”

at 34, as had been contemplated by the parties.             (PSR at 8).       The

Report also noted that Petitioner was entitled to a three-level

reduction for his acceptance of responsibility.             (PSR at 8).

        Not surprisingly, the Report also indicated that, by virtue

of Petitioner’s two prior felony drug convictions, he was a

Career Offender as defined under U.S. Sentencing Guidelines §

4B1.1, and so his “Adjusted Offense Level” had to be raised to

37.     (PSR at 9). Consequently, once the three-level reduction for

acceptance of responsibility was made to that Adjusted Offense

Level, the Probation Officer determined that the resulting “Total

Offense Level” was 34, his Criminal History Category was VI and

his resulting Guidelines range of imprisonment was 262-327 months

imprisonment.      (PSR at 15).     However, Petitioner’s statutory


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mandatory minimum term was life imprisonment.         (PSR at 15).

Furthermore, although the Report noted that the Government’s file

contained statements from several witnesses -- including two of

Petitioner’s suppliers whose statements indicated that they, in

combination, had sold Petitioner more than 1.5 kilograms of co-

caine base –- no attempt was made to upwardly adjust his Total

Offense Level due to the relevant stipulation in his Plea

Agreement.   (PSR at 15).

     In any case, on June 17, 2003, the Government filed a Motion

for a Downward Departure on the basis of Petitioner’s substantial

assistance. (3:01Cr184-5-MU, document # 181).         The Motion noted

that based upon Petitioner’s extensive criminal record, as evi-

denced by his Pre-Sentence Report, Petitioner was facing a

mandatory minimum term of life imprisonment.         (Id. at 2). Never-

theless, the Government recommended that Petitioner’s Total

Offense Level be reduced from 34 down to 32 and that he be sen-

tenced to a term of 240 months imprisonment.         (Id. at 3).

     On June 18, 2003, the Court conducted Petitioner’s Factual

Basis and Sentencing Hearing.       At the outset of that proceeding,

the Court noted that during his Plea and Rule 11 Hearing, Peti-

tioner had given answers which established that his guilty plea

was intelligently and voluntarily tendered. (See Transcript of

Sent’g. Hrn’g., filed September 15, 2003 at 3).          Next, the Court

asked questions which revealed that Petitioner had reviewed his


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Pre-Sentence Report with his attorney and that there was a

factual basis to support his guilty plea; consequently, the Court

reaffirmed its acceptance of Petitioner’s plea.          (Id. at 2-3).

     The Government then explained that although Petitioner had a

“lousy record” which otherwise would have subjected him to a term

of life imprisonment, the Government was seeking a downward de-

parture to a 20-year term because of his substantial assistance.

Thereafter, defense counsel stated that he was not challenging

the Pre-Sentence Report’s calculations, notwithstanding the fact

that the results of a polygraph examination of Petitioner tended

to show that he had not been involved with in excess of 1.5 kilo-

grams of cocaine base as two of the Government’s witnesses had

stated during their debriefings.         (Id. at 4-5).   Rather, counsel

explained that such a battle would have been unprofitable since

the test results would not have been admissible and a challenge

could have put Petitioner at risk for a withdrawal of the Govern-

ment’s § 5K1.1 Motion. (Id. at 5).         However, defense counsel did

ask the Court to take Petitioner’s favorable polygraph results

into account in determining how much of a departure to give him.

(Id. at 6-7).

     In response, counsel for the Government reminded the Court

that Petitioner had stipulated to involvement with 150 to 500

grams of cocaine base, an amount which was far less than the

amount that the two questionable witnesses had imputed to him;


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and that the Government obviously had discredited the witnesses

representations, as evidenced by its willingness to allow Peti-

tioner to plead to the drastically lower amount. (Id. at 8-9).

Counsel for the Government also told the Court about an occasion

in 1999 when Petitioner was arrested after an undercover deal

where he sold cocaine base to an officer and he admitted that he

had returned to drug dealing after his release from prison.            (Id.

at 9).   Counsel further stated that a search of Petitioner’s home

incident to that arrest had produced drug paraphernalia, cash and

a small amount of marijuana; and that Petitioner had been on su-

pervised release at the time of that incident.         (Id.).    Thus, the

Government asked the Court not to give Petitioner a reduction

below 240 months.    (Id.).

     For his part, Petitioner apologized for again being a feder-

al defendant.   (Id.).   Petitioner stated that his return to drug

dealing after his release from prison had been precipitated by

his inability to secure lawful employment.         (Id. at 9-10). Peti-

tioner further explained that his girlfriend had become pregnant

and his elderly mother was in need of his support.          (Id.).

Petitioner asked the Court to treat him fairly and not let him be

victimized by the statements of the two discredited Government

witnesses. (Id. at 10).      Notably, however, Petitioner made no

mention of any dissatisfaction with the Pre-Sentence Report’s

determination that he was a Career Offender and subject to a


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mandatory life sentence, and he made no mention of his attorney’s

decision not to challenge that determination.

     The Court granted the Government’s Motion for a Downward De-

parture.    However, the Court departed down below the 240-month

term recommended by the Government and imposed a term of 210

months imprisonment.     (Id.).   After the Court pronounced its

Judgment, Petitioner thanked the Court and the proceeding was

ended.    (Id. at 12).   On June 27, 2003, Petitioner filed his

Notice of Appeal to the Fourth Circuit Court of Appeals.           (Case

3:01CR184-5-MU, document # 184).

     On appeal, Petitioner argued, through newly appointed

counsel, that he was entitled to have his guilty plea set aside

on the basis of ineffective assistance of counsel and on the

basis of prosecutorial misconduct; and that his sentence was

imposed in violation of the U.S. Sentencing Guidelines.          (See

Petitioner’s Reply to Government’s Response, document # 9, Ex-

hibit A).    Petitioner also submitted his own supplemental brief,

arguing that the Government had breached its Plea Agreement with

him; the prosecutor had engaged in misconduct; he should not have

been sentenced for involvement with crack, as opposed to another

form of cocaine base; and his sentence was imposed in violation

of the rule announced in Apprendi v. New Jersey, 530 U.S. 466

(2000).

     On December 22, 2003, the Government filed a Motion to Dis-


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miss on the basis of the appellate waiver provision in Petition-

er’s Plea Agreement. On March 5, 2004, the Fourth Circuit granted

the Government’s Motion and dismissed Petitioner’s appeal.           (Case

3:01CR184-5-MU, document # 205).

      On January 27, 2005, Petitioner returned to this Court on

the instant Motion to Vacate under 28 U.S.C. § 2255 (document #

1).   As enumerated in his Motion, Petitioner alleges that: (1)

the Government breached the parties’ Plea Agreement; (2) such

breach renders that Agreement and its waiver provision unenforce-

able; (3) defense counsel was ineffective for having failed to

challenge the Government’s breach of the parties’ Agreement; (4)

counsel was ineffective for having failed to seek a different

Plea Agreement, or for not otherwise challenging the Government’s

offer for Petitioner to plead guilty to involvement with cocaine

base, not cocaine powder; (5) counsel also was ineffective for

having failed to address the prosecutor’s concession that it had

discredited portions of two of its witnesses statements; (6) the

prosecutor’s comment on the 1999 arrest incident prejudiced him

at sentencing; (7) his sentence erroneously was based upon an

ambiguous Amendment to the U.S. Sentencing Guidelines; and (8)

certain property of his was confiscated pursuant to an illegal

search.

      On April 13, 2005, Respondent filed its combined Response

and Motion to Dismiss (document # 5).       Such document contends


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that Petitioner procedurally is barred from raising his non-

counsel related claims in this collateral proceeding; that

Petitioner’s claim of illegally seized money is not cognizable in

this proceeding in any event; that his guilty plea was knowingly

and intelligently entered and it stands as a bar to his claim

that he was sentenced under an ambiguous Amendment; that any

other claims which do not allege ineffective assistance or pro-

secutorial misconduct are barred by the Plea Agreement’s waiver

provisions; that Petitioner was not subjected to ineffective

assistance of counsel; and that the prosecutor did not engage in

any misconduct.   Therefore, counsel for the Government asks that

Petitioner’s Motion to Vacate be dismissed.

     On June 13, 2005, Petitioner filed a Reply to the Govern-

ment’s Response and Motion to Dismiss (document # 9).          There,

Petitioner argues that he had raised the issues of the Govern-

ment’s breach of their Agreement and other alleged instances of

misconduct in his direct appeal, but the appellate Court dis-

missed that appeal; therefore, he “should be excused from his

procedural default . . . ”; and that this collateral proceeding

is “the only avenue that Petitioner has left.”         (Id. at 2-3).

Beyond that, Petitioner essentially reiterates the claims set

forth in his Motion to Vacate.

     Last, on June 30, 2006, Petitioner filed a Second Reply to

the Government’s Response and Motion to Dismiss (document # 17).


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That time, Petitioner raised completely different arguments from

his initial ones.

     That is, Petitioner argues that certain provisions in his

Plea Agreement -- the ones which explained the possibility of the

application of the Career Offender Guidelines or any Guide-lines

other than the one to which the parties had stipulated –- were

never discussed during his Rule 11 Hearing; that because this

District requires defendants to enter into their Plea Agreements

before their Pre-Sentence Reports are prepared, a defendant “will

never make an intelligent, not to mention voluntary plea”; that

he would not have encountered this problem had his attorney

advised him to refrain from “agreeing to those ambiguous terms”

until after the Pre-Sentence Report was prepared; that he would

have had a clearer picture of the probable outcome had the pro-

secutor advised him that the base offense level was going to be

37, not 34; that even if the prosecutor did not mislead him, she

allowed him to proceed on the basis of a misrepresentation re-

garding the sentence he would receive; that his Plea Agreement

was drafted illegally; that the Government’s misrepresentation

lulled him into believing that “he would be sentenced at offense

level 31" and that was the only reason he waived his jury trial

rights”; and that the Government failed to address his argument

that he erroneously was sentenced under an ambiguous Amendment to

the Sentencing Guidelines.


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     For its part, the Court carefully has reviewed the parties’

arguments and the relevant legal precedent.         Based upon that

review, the Court finds that Petitioner is not entitled to any

relief on his claims.       Therefore, Petitioner’s Motion must be

denied and dismissed.

                               II.   ANALYSIS

          1.   Petitioner’s claim concerning the
               seizure of his funds is not cogniz-
               able in this proceeding.

     Taking his claims out of turn, by his last allegation, Peti-

tioner contends that when he was arrested by two Kannapolis

officers (on the charges underlying this conviction), approxi-

mately $1,147.00 was taken from his possession; and that such

money never has been returned to him.        Petitioner asserts that

his cash unlawfully was seized and that this Court should direct

the arresting officers immediately to return his funds to him.

     However, it is well settled that claims brought pursuant to

28 U.S.C. § 2255 must attack either the judgment under which they

are confined, the court’s jurisdiction to enter that judgment,

and/or the duration of their sentence.          Rules Governing Section

2255 Proceedings, Rule 1.

     Inasmuch as Petitioner does not allege that the allegedly

illegal seizure of his money somehow affects either his Judgement

of Conviction or the duration of his confinement, this claim

simply is not cognizable in this proceeding.          Therefore, this


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claim will be summarily dismissed.

          2.   Petitioner’s Plea Agreement is valid
               and fully enforceable.

     Petitioner alleges that the Government breached its Plea

Agreement with him; that such breach invalidates that Agreement;

that the Agreement’s waiver provision is not enforceable; and

that counsel was ineffective for having failed to challenged the

Government’s breach.    At the crux of these claims is Petitioner’s

belief that the Government failed to keep its promise to secure a

sentence based on his stipulation that he was involved with 150

to 500 grams of cocaine base, and that a base offense level of 34

was applicable to his offense.      However, it appears from his ar-

guments that Petitioner simply has misconstrued the term “base

offense level.”

     As the term tends to suggest, the “base offense level” is

the starting point for calculating a sentence, hence the term

“base.”   Such “base offense level” is determined by identifying a

defendant’s conduct.    In Petitioner’s case, he pled guilty to

having engaged in a drug conspiracy and he stipulated to a speci-

fic base offense level -- that is, to the lowest point at which

his Guidelines calculations could begin.        However, nothing in

Petitioner’s Plea Agreement precluded the Probation Office from

thereafter completing the proper procedure for calculating his

total offense level by taking into consideration Petitioner’s

criminal history.   In fact, Petitioner’s Plea Agreement expressly

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noted that such additional calculations would be made by the

Probation Office, and that the Probation Office’s calculations,

if accepted by the Court, would be the ones used to determine

Petitioner’s sentence.      Further, Petitioner told the Court that

he carefully had reviewed those terms and understood the priority

that those calculations could take.

     Nor did the Government mislead Petitioner by failing to ex-

pressly note in his Plea Agreement or elsewhere that he would be

deemed a Career Offender.     Indeed, it is clear that the U.S. Pro-

bation Office, not the Government prosecutor, is responsible for

determining whether a defendant’s prior convictions are of the

kind that expose him to enhanced sentencing under Chapter 4 of

the Guidelines.   Thus, when the Government filed its § 851 No-

tice, it met its obligation of putting Petitioner on notice that

his prior convictions could be used to subject him to an enhanced

sentence.   Furthermore, it is clear on this record that Peti-

tioner actually was aware of this possibility as evidenced by his

successful removal of his first attorney, in part, on the basis

of Petitioner’s complaint that he was facing a mandatory life

sentence and wanted to be represented by an attorney who had more

federal experience.

     Moreover, Petitioner swore to the Court that he fully had

reviewed his Plea Agreement with counsel and understood its

terms, including the provisions which explained that he could be


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sentenced as a Career Offender if his criminal history warranted

that designation.    Therefore, no further discussion of those

matters was required by the Court.       In sum, on this record, Peti-

tioner cannot establish any breach by the Government or any

failure by the Court.

     Likewise, it goes without saying that since Petitioner has

failed to establish that his Plea Agreement actually was breach-

ed, he also cannot establish that counsel was ineffective for

having chosen not to raise such a claim.        Nor can Petitioner

establish any deficiency by defense counsel’s having allowed him

to enter into this particular Plea Agreement during the pre-trial

phase of his case.    Rather, as is apparent from the discussion

above, Petitioner was fully aware of all of the consequences of

his plea and the relevant sentencing possibilities at the time

that he entered into his Agreement.       Therefore, counsel did not

fail Petitioner in this regard.

     Equally critically, because Petitioner cannot establish that

the Government breached its Plea Agreement with him, he cannot

avoid enforcement of the waiver provisions that Agreement. In-

deed, the Fourth Circuit repeatedly has approved the knowing and

voluntary waiver of a defendant’s right to appeal.          See, e.g.,

Unite States v. Cohen, 459 F.3d 490, 493-95 (4th Cir. 2006),

cert. denied 127 S. Ct. 1169 (2007); United States v. Johnson,

410 F.3d 137, 151-53 (4th Cir. 2005); United States v. General,


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278 F.3d 389, 399-01 (4th Cir. 2002); and United States v. Brown,

232 F.3d 399, 402 (4th Cir. 2000.        Accord United States v. Le-

master, 403 F.3d 216, 220-21 (4th Cir. 2005) (considering issue

of first impression, holding that a defendant may also waive

right to contest conviction or sentence in § 2255 motion ”so long

as the waiver is knowing and voluntary”).

     The record reflects that Petitioner appeared before the

Court and swore that he understood his Plea Agreement, including

the waiver provision and the limitations which it would impose

upon him.   As such, this case fits squarely within the principle

that sworn statements previously made under oath, particularly

those made during a Rule 11 proceeding which affirm an under-

standing of the proceedings are deemed binding in the absence of

“clear and convincing evidence to the contrary.”         Fields v.

Attorney Gen. Of Md. 956 F.2d 1290, 1299 (4th Cir. 1988), citing

Blackledge v. Allison, 431 U.S. 63, 74-75 (1977).         Indeed, such

statements “constitute a formidable barrier” to their subsequent

attack.   Blackledge, 431 U.S. at 73-74.       In short, once a trial

court conducts a Rule 11 colloquy and finds that the plea is be-

ing knowingly and voluntarily tendered, absent compelling reasons

to the contrary, the validity of the plea and Petitioner’s corre-

sponding responses are deemed to be conclusively established.

Via v. Superintendent, Powhatan Correctional Center, 643 F.2d 167

(4th Cir. 1981).


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     Although Petitioner claims to have been unaware of certain

aspects of his Plea Agreement and he takes issue with the fact

such agreements are entered into before actual sentences are

calculated, such arguments are belied, in part, by his sworn

statements to the contrary and, in any case, are woefully insuf-

ficient to invalidate his Plea Agreement or any of its terms.

Rather, Petitioner has failed to show that the Agreement and, in

particular, its waiver provision cannot be enforced against him.

Therefore, that waiver provision is valid and fully enforceable.

          3.   Petitioner’s challenge to his sentence is
               barred by the terms of his Plea Agreement.

     In light of the fact that the waiver provision in Peti-

tioner’s Plea Agreement is fully enforceable, his claim that his

sentence was calculated based upon an ambiguous Amendment to the

U.S. Sentencing Guidelines is barred by that waiver.          Consequent-

ly, this claim must be summarily dismissed.

          4.   The prosecutor’s remark did not pre-
               judice Petitioner at sentencing.

     Petitioner alleges that he was prejudiced at sentencing when

the prosecutor revealed information about his 1999 arrest inci-

dent in opposing defense counsel’s argument that Petitioner’s

sentence should have been calculated using a drug quantity below

the amount to which he stipulated in his Plea Agreement.           Peti-

tioner acknowledges that he was sentenced at the bottom of the

applicable range; however, he still believes he is entitled to


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relief because “there is no way of knowing whether or not [the

Court] would have sentenced him below the recommended Guide-

lines.”

     That is, Petitioner argues that his sentence should be va-

cated because the prosecutor’s remark may have kept him from

being sentenced “below the recommended Guidelines” range.           How-

ever, the record is clear, notwithstanding the mention of that

incident, that Petitioner actually was sentenced well below the

otherwise applicable Guidelines range of 262 to 327 months.

Petitioner even was sentenced below the 240-month term for which

the prosecutor had argued.      While Petitioner may be uncertain

about whether the subject comments adversely affected his sen-

tence, this Court can say with no uncertainty that the comments

did not adversely affect him.

     Moreover, it has not escaped the Court’s attention that the

remarks actually were appropriate and relevant in that they

related to an additional crime which Petitioner committed during

the time of the instant conspiracy.       To be sure, the record shows

that Petitioner became involved in the subject conspiracy

sometime in 1998, that is, shortly after his 1997 release from

federal custo-dy, and the conspiracy lasted until 2001.          The

incident which the prosecutor described took place in April 1999,

during the life of the conspiracy.       Thus, that information

properly was brought to the attention of this Court.          As such,


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Petitioner cannot show any misconduct on this basis.

          5.   Petitioner’s remaining claims against
               counsel also fail.

     By his two final claims, Petitioner alleges that counsel was

ineffective for having failed to seek a different plea agreement

or to otherwise challenge the fact that Petitioner’s Plea Agree-

ment required him to plead guilty to involvement with cocaine

base, not powder cocaine, and for having failed to take action on

the prosecutor’s concession at sentencing that two of her wit-

nesses had inflated the drug amounts which they attributed to

Petitioner.

     With respect to claims of ineffective assistance of counsel,

Petitioner must show that counsel's performance was constitution-

ally deficient to the extent it fell below an objective standard

of reasonableness, and that he was prejudiced thereby.          Strick-

land v. Washington, 466 U.S. 668, 687-91 (1984).         In making this

determination, there is a strong presumption that counsel's

conduct was within the wide range of reasonable professional

assistance. Id. at 689; see also Fields, 956 F.2d at 1297-99;

Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983); and

Marzullo v. Maryland, 561 F.2d 540 (4th Cir. 1977).

     Under these circumstances, Petitioner “bears the burden of

proving Strickland prejudice.”      Fields, 956 F.2d at 1297, citing

Hutchins, 724 F.2d at 1430-31.      If Petitioner fails to meet this

burden, a “reviewing court need not consider the performance

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prong.”    Fields, 956 F.2d at 1290, citing Strickland, 466 U.S. at

697.

       Moreover, in considering the prejudice prong of the analy-

sis, the Court must not grant relief solely because Petitioner

can show that, but for counsel’s performance, the outcome of the

proceeding would have been different.       Sexton v. French, 163 F.3d

874, 882 (4th Cir. 1998).    Rather, the Court “can only grant re-

lief under . . . Strickland if the ‘result of the proceeding was

fundamentally unfair or unreliable.’” Id., quoting Lockhart v.

Fretwell, 506 U.S. 364, 369 (1993).

       More critically, inasmuch as Petitioner has alleged ineffec-

tive assistance of counsel following the entry of his guilty

plea, he has a different burden to meet.        See Hill v. Lockhart,

474 U.S. at 53-59; Fields, 956 F.2d at 1294-99; and Hooper v.

Garraghty, 845 F.2d 471, 475 (4th Cir. 1988).         The Fourth Circuit

described a petitioner’s burden in a post-guilty plea claim of

ineffective assistance of counsel as follows:

            When a [petitioner] challenges a conviction
            entered after a guilty plea, [the] “prejudice
            prong of the [Strickland] test is slightly
            modified. Such a defendant must show that
            there is a reasonable probability that, but
            for counsel’s errors, he would not have
            pleaded guilty and would have insisted on
            going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59-60; and Fields, 956 F.2d at 1297.          Criti-

cally, however, if a petitioner fails to meet his burden of

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demonstrating prejudice, a “reviewing court need not consider the

performance prong.”    Fields, 956 F.2d at 1290, citing Strickland,

466 U.S. at 697.

     Thus, “the central inquiry” is whether, but for counsel’s

alleged errors, this Petitioner would have insisted on a trial.

Slavek v. Kinkle, 359 F.Supp.2d 473, 491 (E.D. Va. 2005) (sum-

marily rejecting claims of ineffectiveness on prejudice prong

based on petitioner’s failure and inability to argue that but for

alleged errors, he would have insisted on going to trial).

Courts have stated that this inquiry is an “objective one based

on whether going to trial might reasonably have resulted in a

different outcome.”    Martin v. United States, 395 F.Supp. 2d 326,

329 (D. S.C. 2005).    See also Beck v. Angelone, 261 F.3d 377, 396

(4th Cir. 2001) (finding that in light of overwhelming evidence

of guilt and lack of available defenses, petitioner could not

establish prejudice under the modified “reasonable probability”

standard); and Burket v. Angelone, 208 F.3d 172, 190-91 (4th Cir.

2000) (same).

     Initially as to these claims, the Court notes that Peti-

tioner does not claim that he is innocent of the conspiracy

charge.   Nor has Petitioner bothered to point the Court to any

evidence which counsel could have presented in order to secure an

acquittal for him.    Such failures are damning to the instant

claims of ineffective assistance of counsel.


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     Second, turning back to the record, it is clear that Peti-

tioner greatly benefitted from tendering a guilty plea.          Even in

discounting the quantity of drugs which the two Government wit-

nesses erroneously attributed to Petitioner, the Government still

could have produced those witnesses to testify that Petitioner

had repeatedly trafficked in cocaine base with them during the

course of the conspiracy.     Petitioner’s Pre-Sentence Report fur-

ther indicates that the Government could have produced testimony

from the officer and the informant who were involved in the 1999

undercover deal along with the other damaging evidence which was

secured in the course of that incident.

     In light of Petitioner’s failure to identify any evidence

which could have exonerated him, the Court finds that a trial

with the foregoing evidence likely would have resulted in a con-

viction for him.   Had Petitioner been convicted following a

trial, there is no question that he would have faced a mandatory

minimum term of life imprisonment.       However, by pleading guilty,

Petitioner received less than a 20-year sentence.         Thus, Peti-

tioner cannot establish that there is a reasonable probability

that, but for counsel’s alleged ineffectiveness, he would have

insisted upon a trial.      Consequently, his claims against counsel

can be rejected on that basis.

                             III. CONCLUSION

     The Court has considered Petitioner’s arguments, the entire


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record of this matter and the relevant legal precedent, and has

found that he is not entitled to any relief on his claims.

Therefore, the Government’s Motion to Dismiss will be granted.

                               IV.   ORDER

     IT IS, THEREFORE, ORDERED THAT:

     1.   Petitioner’s Motion to Reinstate his Motion to Vacate

(document # 19) is GRANTED;

     2.   Petitioner’s two Motions to Stay or Hold Decision in

Abeyance (document ## 16 and 18) are DISMISSED as moot;

     3.   The Government’s Motion to Dismiss is GRANTED; and

     4.   Petitioner’s Motion to Vacate is DENIED and DISMISSED.

     SO ORDERED.



                                          Signed: September 29, 2008




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